         Case 24-00786-JMC-7A                     Doc 37          Filed 04/17/24               EOD 04/17/24 15:48:35              Pg 1 of 74

 Fill in this information to identify the case and this filing:

              Blue Marble Productions, Inc.
 Debtor Name __________________________________________________________________

                                         Southern District of Indiana
 United States Bankruptcy Court for the: ________________________________

                              24-00786
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         X Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         
         
         X Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         X Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         
         X Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         
         X Schedule H: Codebtors (Official Form 206H)
         
         X Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    04/17/2024
        Executed on ______________                          /s/ Alan Miller
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Alan Miller
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 24-00786-JMC-7A                                           Doc 37                Filed 04/17/24                         EOD 04/17/24 15:48:35                                     Pg 2 of 74


 Fill in this information to identify the case:

                Blue Marble Productions, Inc.
  Debtor name _________________________________________________________________

                                          Southern District of Indiana
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        24-00786
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       8,418,798.30
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         8,418,798.30
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                      12,099,305.79
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                           70,301.05
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                       25,078,325.86



4. Total liabilities ...........................................................................................................................................................................       37,247,932.70
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
            Case 24-00786-JMC-7A                       Doc 37    Filed 04/17/24           EOD 04/17/24 15:48:35                   Pg 3 of 74
  Fill in this information to identify the case:

               Blue Marble Productions, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of Indiana
  Case number (If known):
                              24-00786
                              _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          JP Morgan Chase
    3.1. _________________________________________________  Checking
                                                           ______________________              1
                                                                                               ____  2
                                                                                                    ____ 5
                                                                                                         ____ 6
                                                                                                              ____               $______________________
                                                                                                                                   268,497.01
          Park Street
    3.2. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____                 497.50
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 268,994.51
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
    ✔


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                  page 1
            Case 24-00786-JMC-7A                          Doc 37   Filed 04/17/24            EOD 04/17/24 15:48:35                  Pg 4 of 74
Debtor           Blue Marble Productions, Inc.
                _______________________________________________________                                                 24-00786
                                                                                                 Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
         Allied Wholesale Electrical Supply (Prepayment for supplies)
    8.1.___________________________________________________________________________________________________________                $______________________
                                                                                                                                     310.73
         See continuation sheet
    8.2.___________________________________________________________________________________________________________                $_______________________
                                                                                                                                     177,325.79

9. Total of Part 2.
                                                                                                                                   $______________________
                                                                                                                                     177,636.52
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     1,585,455.27
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    1,585,455.27
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    0.00
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    1,585,455.27
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 2
            Case 24-00786-JMC-7A                     Doc 37         Filed 04/17/24             EOD 04/17/24 15:48:35                  Pg 5 of 74
                Blue Marble Productions, Inc.                                                                             24-00786
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                              Date of the last         Net book value of        Valuation method used        Current value of
                                                       physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                (Where available)
19. Raw materials
                                                      12/29/2023      1,850,843.04                         Book Value                  Unknown
  Various Customer Ingredients & Packaging Materials ______________
   ________________________________________                                                                                          $______________________
                                                     MM / DD / YYYY
                                                                    $__________________                   ______________________

20. Work in progress
                                                              12/29/2023          311,486.80               Book Value                  Unknown
  WIP
   ________________________________________                  ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                  1,404,255.93             Book Value                  Unknown
  Finished Goods                                     12/29/2023
                                                    ______________
    ________________________________________                                    $__________________       ______________________     $______________________
                                                             MM / DD / YYYY

22. Other inventory or supplies
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                    0.00
                                                                                                                                     $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
     
     ✔ Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value : Unknown
      ✔
                                                    Valuation method : NA                         Current value : Unknown
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used        Current value of debtor’s
                                                                                debtor's interest        for current value            interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6

    ______________________________________________________________               $________________         ____________________     $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                     page 3
            Case 24-00786-JMC-7A                     Doc 37          Filed 04/17/24           EOD 04/17/24 15:48:35                 Pg 6 of 74
Debtor
                Blue Marble Productions, Inc.
               _______________________________________________________                                                  24-00786
                                                                                                 Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
Workstations & Desks (estimated NBV)
                                                                                    26,996.20
                                                                                  $________________      NBV est. as of 03/24
                                                                                                        ____________________        Unknown
                                                                                                                                  $______________________
40. Office fixtures
Leasehold Improvements (estimated NBV)
                                                                                    3,660,908.27
                                                                                  $________________      NBV est. as of 03/24
                                                                                                        ____________________        Unknown
                                                                                                                                  $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
See continuation sheet                                                              434,504.25                                      Unknown
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     0.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
          Case 24-00786-JMC-7A                     Doc 37        Filed 04/17/24         EOD 04/17/24 15:48:35                   Pg 7 of 74
 Debtor
                Blue Marble Productions, Inc.
               _______________________________________________________
                                                                                                                24-00786
                                                                                             Case number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of        Valuation method used        Current value of
                                                                           debtor's interest        for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________        ____________________       $______________________

    47.2___________________________________________________________         $________________        ____________________       $______________________

    47.3___________________________________________________________         $________________        ____________________       $______________________

    47.4___________________________________________________________         $________________        ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________         ____________________       $______________________

    48.2__________________________________________________________         $________________         ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________         ____________________       $______________________

    49.2__________________________________________________________         $________________         ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             18,837,145.63                                        Unknown
    ______________________________________________________________         $________________         ____________________       $______________________


51. Total of Part 8.                                                                                                              0.00
                                                                                                                                $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      No
     
     ✔ Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                  page 5
            Case  24-00786-JMC-7A                       Doc 37         Filed 04/17/24           EOD 04/17/24 15:48:35                  Pg 8 of 74
               Blue Marble Productions, Inc.                                                                           24-00786
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       7520 Georgetown Road, Suite B                           Sublessee /
55.1
       Indianapolis, IN 46268                                  Sub-sublessor                                                             Unknown
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
                                                                                       0.00                                               0.00
    See continuation sheet
    ______________________________________________________________                   $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations                                                                                  Unknown
    Customer List
    ______________________________________________________________                   $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
                                                                                                                                          Unknown
    Goodwill
    ______________________________________________________________                    $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                     0.00
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
           Case 24-00786-JMC-7A                         Doc 37     Filed 04/17/24          EOD 04/17/24 15:48:35                   Pg 9 of 74
Debtor            Blue Marble Productions, Inc.
                 _______________________________________________________                                              24-00786
                                                                                               Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔ No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
      ✔

                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                             _________ –          ____________________        =   $_   _________________
     ______________________________________________________
                                                                     Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
      Federal NOL
     _________________________________________________________________________________                             2019
                                                                                                         Tax year ___________        4,960,710.00
                                                                                                                                   $_____________________
      Federal NOL
     _________________________________________________________________________________
                                                                                                                   2018
                                                                                                         Tax year ___________      $_____________________
                                                                                                                                    1,426,002.00
      Federal NOL
     _________________________________________________________________________________
                                                                                                                   2020-23
                                                                                                         Tax year ___________      $_____________________
                                                                                                                                     Unknown

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                 $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See continuation sheet
    ______________________________________________________________                                                                   Unknown
                                                                                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                 $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                  $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                    $_____________________
   ____________________________________________________________                                                                    $_____________________
78. Total of Part 11.
                                                                                                                                     6,386,712.00
                                                                                                                                   $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 7
          Case 24-00786-JMC-7A                                Doc 37            Filed 04/17/24                   EOD 04/17/24 15:48:35                         Pg 10 of 74
Debtor
                   Blue Marble Productions, Inc.
                  _______________________________________________________
                                                                                                                                           24-00786
                                                                                                                       Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         268,994.51
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         177,636.52
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         1,585,455.27
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      6,386,712.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         8,418,798.30                      0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  8,418,798.30                                                                                      8,418,798.30
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................      $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                                page 8
            Case 24-00786-JMC-7A                 Doc 37     Filed 04/17/24       EOD 04/17/24 15:48:35                    Pg 11 of 74
                Blue Marble Productions, Inc.                                                                  24-00786
 Debtor 1                                                           _                 Case number (if known)
               First Name     Middle Name       Last Name



                                                    Continuation Sheet for Official Form 206 A/B

8) Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and
rent

General description                                            Current value

ABC Packaging Machine Corp.                                    $29.42
(Prepayment for supplies)

KHS USA, Inc. (Prepayment for supplies)                        $1,474.68

Filtec (Prepayment for supplies)                               $36.69

Office Depot (Prepayment for supplies)                         $44.82

Harrington Industrial Plastics                                 $63.64
(Prepayment for supplies)

Robert-James Sales, Inc. (Prepayment                           $323.45
for supplies)

Motion Industries, Inc. (Prepayment                            $1,637.11
for supplies)

Caribbean Distillers LLC (Prepayment                           $1,725.07
for supplies)

Kerry Inc. / Kerry Canada Inc.                                 $3,499.25
(Prepayment for supplies)

Duncan Co. (Prepayment for supplies)                           $4,706.00

Glacier Tanks, LLC (Prepayment for                             $84.15
supplies)

Enerquip Thermal Solutions (Prepayment                         $259.78
for supplies)

Arrow Container, LLC (Prepayment for                           $399.99
supplies)

Heyes Filters (Prepayment for supplies)                        $650.00

Climax Packaging Machinery (Prepayment                         $3,131.14
for supplies)

Lowes (Prepayment for supplies)                                $384.37

Fredericks, Inc. Contractors                                   $600.00
(Prepayment for supplies)

Hytrol Parts (Prepayment for supplies)                         $403.43

Jackson Oil & Solvents (Prepayment for                         $926.22
supplies)

Allied Electronics, Inc. (Prepayment                           $1,673.90
for supplies)

Nelson-Jameson Inc. (Prepayment for                            $2,130.36
supplies)



Official Form 206 A/B                                            Schedule A/B: Property
            Case 24-00786-JMC-7A                 Doc 37     Filed 04/17/24       EOD 04/17/24 15:48:35                    Pg 12 of 74
                Blue Marble Productions, Inc.                                                                  24-00786
 Debtor 1                                                           _                 Case number (if known)
               First Name     Middle Name       Last Name



                                                    Continuation Sheet for Official Form 206 A/B

Amazon (Prepayment for supplies)                               $2,580.89

Daigger (Prepayment for supplies)                              $2,988.81

BevNutra Solutions, LLC (Prepayment                            $3,311.43
for supplies)

Indiana Sugars (Prepayment for                                 $56,530.00
supplies)

W.W. Grainger, Inc. (Prepayment for                            $8,797.47
supplies)

Fortis (Prepayment for supplies)                               $11,339.17

Horner Industrial Group (Prepayment                            $14,234.06
for supplies)

BIOURJA (Prepayment for supplies)                              $53,360.49


41) Office equipment, including all computer equipment and communication systems equipment
and software

General description                  Net book value              Valuation method                   Current value

SAP HANNA Software                   376,035.69                  NBV est. as of                     Unknown
(MRP Licensing)                                                  03/24

Computer Hardware                    58,468.56                   NBV est. as of                     Unknown
(estimated NBV)                                                  03/24


50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

General description                  Net book value              Valuation method                   Current value

Beverage Packaging                   994,450.51                  NBV est. as of                     Unknown
Equipment                                                        03/24

Leased equipment                     17,842,695.12               NBV est. as of                     Unknown
                                                                 03/24


62) Licenses, franchises, and royalties

General description                  Net book value              Valuation method                   Current value

Indiana Alcohol                                                                                     0.00
and Tobacco
Commission Permits

Alcohol and                                                                                         0.00
Tobacco Tax and
Trade Bureau
Licenses


74) Causes of action against third parties (whether or not a lawsuit has been filed)




Official Form 206 A/B                                            Schedule A/B: Property
            Case 24-00786-JMC-7A                 Doc 37     Filed 04/17/24       EOD 04/17/24 15:48:35                    Pg 13 of 74
                Blue Marble Productions, Inc.                                                                  24-00786
 Debtor 1                                                           _                 Case number (if known)
               First Name     Middle Name       Last Name



                                                    Continuation Sheet for Official Form 206 A/B
General description                  Nature of claim             Amount requested                   Current value

Claim Against                        Breach of Contract          2,502,640.00                       Unknown
Stewart's
Enterprises, Inc

Claim Against                        Breach of Contract          1,306,219.20                       Unknown
Miami Cocktails
Company, Inc.




Official Form 206 A/B                                            Schedule A/B: Property
             Case 24-00786-JMC-7A                                Doc 37       Filed 04/17/24              EOD 04/17/24 15:48:35                     Pg 14 of 74
  Fill in this information to identify the case:
              Blue Marble Productions, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of Indiana
                                 24-00786
  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                                Describe debtor’s property that is subject to a lien          of collateral.            claim
     Department of Treasury Alcohol Tobacco                        All assets
     Tax Trade Bureau                                                                                                              8,629,519.42               Undetermined
      __________________________________________                                                                                 $__________________        $_________________

     Creditor’s mailing address

      1310 G Street NW
      ________________________________________________________
      Washington, DC 20005
      ________________________________________________________

                                                                   Describe the lien
    Creditor’s email address, if known
                                                                   Statutory
                                                                   _________________________________________________
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred            03/11/2024
                                     __________________            
                                                                   ✔ No

    Last 4 digits of account                                        Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                  
                                                                   ✔ No

    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        No
    X Yes. Specify each creditor, including this creditor,         As of the petition filing date, the claim is:
    
                                                                   Check all that apply.
                                                                    Contingent
      Priorities unknown                                            Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                                Describe debtor’s property that is subject to a lien
     Libertas Funding LLC
                                                                   Accounts Receivable                                           $__________________
                                                                                                                                  812,706.91                $_________________
                                                                                                                                                             1,585,455.27
      __________________________________________
     Creditor’s mailing address
      411 W. Putnam Ave., Ste. 220
      ________________________________________________________
      Greenwich, CT 06830
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                        Agreement you made
                                                                    _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔ No
    same property?                                                  Yes
        No
                                                                   Is anyone else liable on this claim?
    
    X Yes. Have you already specified the relative
                                                                    No
           priority?
                                                                   
                                                                   ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.               As of the petition filing date, the claim is:
                                                                   Check all that apply.
      Priorities unknown
                                                                    Contingent
          Yes. The relative priority of creditors is               Unliquidated
                   specified on lines _____                         Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    12,099,305.79
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          3
                                                                                                                                                              page 1 of ___
              Case   24-00786-JMC-7A
                 Blue Marble Productions, Inc.
                                                                 Doc 37       Filed 04/17/24              EOD 04/17/24 15:48:35
                                                                                                                        24-00786
                                                                                                                                                   Pg 15 of 74
  Debtor            _______________________________________________________                                    Case number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                                Describe debtor’s property that is subject to a lien
     MBV-Midwest LLC
                                                                  All assets
      __________________________________________                                                                                  2,657,079.46
                                                                                                                                 $__________________      Undetermined
                                                                                                                                                         $_________________
     Creditor’s mailing address

      3309 Collins Lane
      ________________________________________________________

      Louisville, KY 40245
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred           __________________           Describe the lien
     Last 4 digits of account                                       Agreement you made
                                                                    __________________________________________________
     number                   _________________
                                                                   Is the creditor an insider or related party?
     Do multiple creditors have an interest in the                 
                                                                   ✔ No
     same property?                                                 Yes
        No
     
     X Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔ No
            No. Specify each creditor, including this              Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
       Priorities unknown                                          Check all that apply.
                                                                    Contingent
            Yes. The relative priority of creditors is             Unliquidated
                    specified on lines _____                        Disputed

2.__ Creditor’s name                                               Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                 $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred           __________________
                                                                   Describe the lien
     Last 4 digits of account
     number                   _________________                     __________________________________________________


     Do multiple creditors have an interest in the                 Is the creditor an insider or related party?
     same property?                                                 No
      No                                                           Yes
      Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                            No
            No. Specify each creditor, including this              Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                    Contingent
            Yes. The relative priority of creditors is             Unliquidated
                    specified on lines _____                        Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                  2 of ___
                                                                                                                                                                        3
          Case 24-00786-JMC-7A                     Doc 37         Filed 04/17/24             EOD 04/17/24 15:48:35                    Pg 16 of 74
Debtor
               Blue Marble Productions, Inc.
               _______________________________________________________                                                    24-00786
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Andrew Stosberg
     c/o Gray Ice Higdon, PLLC
     3939 Shelbyville Road, Suite 201                                                                                  3
                                                                                                               Line 2. __                    _________________
     Louisville, KY, 40207


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      3 of ___
                                                                                                                                                           3
             Case 24-00786-JMC-7A                   Doc 37         Filed 04/17/24             EOD 04/17/24 15:48:35                 Pg 17 of 74
   Fill in this information to identify the case:

   Debtor
                    Blue Marble Productions, Inc.
                    __________________________________________________________________

                                           Southern District of Indiana
   United States Bankruptcy Court for the: ________________________________

   Case number       24-00786
                     ___________________________________________
    (If known)

                                                                                                                                      Check if this is an
                                                                                                                                         amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                     12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
    
    ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Indiana Department of Revenue                                                                                                    $_________________
                                                            Check all that apply.
    Bankruptcy section - MS 108                              Contingent
    100 N. Senate Ave. Room N240                             Unliquidated
    Indianapolis, IN, 46204                                  Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Internal Revenue Service                                As of the petition filing date, the claim is: $______________________
                                                                                                            Unknown                  $_________________
                                                            Check all that apply.
    PO Box 7346
    Philadelphia, PA, 19101-7346                             Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           70,301.05
    Marion County Treasurer                                                                                                          $_________________
                                                            Check all that apply.
    200 E. Washington St., Ste. 1041
                                                             Contingent
    Indianapolis, IN, 46204                                  Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    2022
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                55
                                                                                                                                          page 1 of ___
             Case
                Blue24-00786-JMC-7A
                     Marble Productions, Inc.      Doc 37         Filed 04/17/24               EOD 04/17/24 15:48:35
                                                                                                             24-00786 Pg 18 of 74
  Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                  Name


 Pa rt 2 :     List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    A-Pallet Company                                                                                                           50,841.28
                                                                                                                             $________________________________
                                                                            Contingent
    1305 S. Bedord Street                                                   Unliquidated
    Indianapolis, IN, 46221                                                 Disputed
                                                                                                   Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred             ___________________         Is the claim subject to offset?

    Last 4 digits of account number             ___________________        
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ABC Packaging Machine Corporation                                      Check all that apply.                               Unknown
                                                                                                                             $________________________________
    811 Live Oak Street                                                     Contingent
    Tarpon Springs, FL, 34689                                               Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors


    Date or dates debt was incurred             ___________________        Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number             __________________          Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    AccountedFor                                                                                                               19,000.00
                                                                                                                             $________________________________
                                                                            Contingent
    115 W. Tipton Street                                                    Unliquidated
    Seymour, IN, 47274                                                      Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred             ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number             __________________         
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Acosta, Luisa                                                          Check all that apply.
                                                                                                                               0.00
                                                                                                                             $________________________________
    464 Superior Lane, Apt. D                                               Contingent
    Avon, IN, 46123                                                         Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:
                                                                                                   Employee Wages

    Date or dates debt was incurred             ___________________        Is the claim subject to offset?

    Last 4 digits of account number             __________________         
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Action Equipment Sales Co., Inc.                                                                                           4,084.50
                                                                                                                             $________________________________
                                                                           Check all that apply.
    5801 S. Harding Street                                                  Contingent
    Indianapolis, IN, 46217                                                 Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred             ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number             __________________         
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ADCO Companies, LTD                                                                                                        1,050.75
                                                                                                                             $________________________________
                                                                           Check all that apply.
    3657 Pine Lane                                                          Contingent
    Bessemer, AL, 35022                                                     Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:    Suppliers or Vendors

    Date or dates debt was incurred             ___________________        Is the claim subject to offset?
    Last 4 digits of account number             ___________________        
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                       2 of ___
                                                                                                                                                      page __    55
            Case  24-00786-JMC-7A
               Blue Marble Productions, Inc.     Doc 37       Filed 04/17/24              EOD 04/17/24 15:48:35
                                                                                                        24-00786 Pg 19 of 74
  Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             335.90
                                                                                                                      $________________________________
 Adobe Inc.                                                            Contingent
 3657 Pine Lane                                                        Unliquidated
 Bessemer, AL, 35022                                                   Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        31,890.87
                                                                                                                      $________________________________
 AES Indiana
 2102 N. Illinois Street                                               Contingent
 Indianapolis, IN, 46202                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Utility Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Allied Electronics, Inc.                                             Check all that apply.
                                                                                                                       Unknown
                                                                                                                      $________________________________
 7151 Jack Newell Blvd., South                                         Contingent
 Fort Worth, TX, 761118                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 Allied Wholesale Electrical Supply                                   Check all that apply.
 120 N. Lynhurst Drive                                                 Contingent
 Indianapolis, IN, 46224                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Alluvia Platform                                                     Check all that apply.
                                                                                                                        249.00
                                                                                                                      $________________________________
 400 Rella Blvd., Ste. 302                                             Contingent
 Suffern, NY, 10901                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                  Name



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Alvarez Davila, Jeyner                                                Contingent
 226 N. Belleview                                                      Unliquidated
 Indianapolis, IN, 46222                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 Amazon
 410 Terry Ave. N.                                                     Contingent
 Seattle, WA, 98109                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Anderson Process                                                     Check all that apply.
                                                                                                                       5,391.79
                                                                                                                      $________________________________
 8104 Woodland Drive                                                   Contingent
 Indianapolis, IN, 46278                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       61,094.03
                                                                                                                      $________________________________
 Anthem, Inc.                                                         Check all that apply.
 120 Monument Circle                                                   Contingent
 Indianapolis, IN, 46204                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Insurance



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Antunez Hernandez, Alexis Abraham                                    Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 2945 South Percheron Lane                                             Contingent
 Indianapolis, IN, 46227                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             1,485.00
                                                                                                                      $________________________________
 Apex Logistics Group                                                  Contingent
 12890 Old Meridian Street, Unit 136                                   Unliquidated
 Carmel, IN, 46032                                                     Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        240.75
                                                                                                                      $________________________________
 Aqua Systems of Indianapolis
 7785 E US Hwy 36                                                      Contingent
 Avon, IN, 46123                                                       Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Ardagh Metal Beverage USA Inc.                                       Check all that apply.
                                                                                                                       626,659.01
                                                                                                                      $________________________________
 10194 Crosspoint Blvd., Ste. 410                                      Contingent
 Indianapolis, IN, 46256                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       45,422.20
                                                                                                                      $________________________________
 Armanino LLP                                                         Check all that apply.
 12657 Alcosta Blvd., Ste. 500                                         Contingent
 San Ramon, CA, 94583                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Arrow Container, LLC                                                 Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 5343 Commerce Square Dr.                                              Contingent
 Indianapolis, IN, 46237                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             500.00
                                                                                                                      $________________________________
 Ascensus, LLC                                                         Contingent
 PO Box 36469                                                          Unliquidated
 Newark, NJ, 07188                                                     Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        26,650.00
                                                                                                                      $________________________________
 Atrius LLC
 28 Pristine Pond Dr.                                                  Contingent
 Frisco, TX, 75034                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Autodesk, Inc.                                                       Check all that apply.
                                                                                                                       21.40
                                                                                                                      $________________________________
 111 McInnis Parkway                                                   Contingent
 San Rafael, CA, 94903                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       92.86
                                                                                                                      $________________________________
 Bam Rents                                                            Check all that apply.
 1745 N. Harding Street                                                Contingent
 Indianapolis, IN, 46202                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Barnes & Thornburg                                                   Check all that apply.
                                                                                                                        116,095.40
                                                                                                                      $________________________________
 11 South Meridian Street                                              Contingent
 Indianapolis, IN, 46204                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  6 of ___
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 BCORE Georgetown Owner LLC                                            Contingent
 90 Park Avenue, 32nd Floor                                            Unliquidated
 New York, NY, 10016                                                   Disputed
                                                                      Basis for the claim: Lease



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                       No
                                                                      
                                                                      ✔
                                                                        Yes
        Last 4 digits of account number        ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Beaty, Sarah
 533 Castle Manor Court                                                Contingent
 Indianapolis, IN, 46214                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Bergman, Klay                                                        Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 5129 Lemans Drive, Apt. B11                                           Contingent
 Indianapolis, IN, 46205                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Beshay, George                                                       Check all that apply.
 1863 Silverton Dr.                                                    Contingent
 Avon, IN, 46123                                                       Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Bevlit, LLC                                                          Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 3266 S. Spring Mountain Blvd.                                         Contingent
 Pahrump, NV, 89048                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 BevNutra Solutions, LLC                                               Contingent
 801 S. Olive Ave, Ste. 125                                            Unliquidated
 West Palm Beach, FL, 33401                                            Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        1,750,120.00
                                                                                                                      $________________________________
 BevSource
 219 Little Canada Road East                                           Contingent
 Saint Paul, MN, 55117                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Bia Diagnostics                                                      Check all that apply.
                                                                                                                       12,390.00
                                                                                                                      $________________________________
 480 Hercules Drive, Ste. 101                                          Contingent
 Colchester, VT, 05446                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       7,157.56
                                                                                                                      $________________________________
 bioMerieux, Inc.                                                     Check all that apply.
 100 Rodolphe Street                                                   Contingent
 Durham, NC, 27712                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 BIOURJA                                                              Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 1500 City West Blvd.                                                  Contingent
 Houston, TX, 77042                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             15,253,403.03
                                                                                                                      $________________________________
 Blue Marble Cocktails, Inc.                                           Contingent
 1980 Festival Plaze Dr., Ste. 300                                     Unliquidated
                                                                       Disputed
 Las Vegas, NV, 89135
                                                                      Basis for the claim: Intercompany Payable with Blue Marble Cocktails, Inc.



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        311,846.10
                                                                                                                      $________________________________
 Bose McKinney & Evans LLP
 111 Monument Circle                                                   Contingent
 Indianapolis, IN, 46204                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Box, Inc.                                                            Check all that apply.
                                                                                                                       1,140.00
                                                                                                                      $________________________________
 900 Jefferson Ave.                                                    Contingent
 Redwood City, CA, 94063                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Brown, Nathan                                                        Check all that apply.
 14304 Cuppola Drive                                                   Contingent
 Noblesville, IN, 46060                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Bulk Spirits                                                         Check all that apply.
                                                                                                                        17,960.00
                                                                                                                      $________________________________
 1110 Boca Ciega Isle Drive                                            Contingent
 Saint Petersburg, FL, 33706                                           Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Campbell, James                                                       Contingent
 4709 S 700 E. Waldron                                                 Unliquidated
 Waldron, IN, 46182                                                    Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        862,733.18
                                                                                                                      $________________________________
 Canadian Canning, Inc.
 101 Dartnell Rd., Unit 2                                              Contingent
 Hamilton, Ontario                                                     Unliquidated
 CANADA                                                                Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Caribbean Distillers LLC                                             Check all that apply.
                                                                                                                       Unknown
                                                                                                                      $________________________________
 4212 West Sevilla Street                                              Contingent
 Tampa, FL, 33629                                                      Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       201.20
                                                                                                                      $________________________________
 Carleton, Inc.                                                       Check all that apply.
 30 South Sand Rd.                                                     Contingent
 New Britain, PA, 18901                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Case, John                                                           Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 3209 Fall Creekway East, Unit A                                       Contingent
 Indianapolis, IN, 46205                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             9,651.78
                                                                                                                      $________________________________
 CFT Packaging USA                                                     Contingent
 1033 Butterfield Road                                                 Unliquidated
 Vernon Hills, IL, 60061                                               Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        7,090.34
                                                                                                                      $________________________________
 Chart International, Inc.
 407 7th Street NW                                                     Contingent
 New Prague, MN, 56071                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Chase Purchase Card                                                  Check all that apply.
                                                                                                                       249,161.33
                                                                                                                      $________________________________
 1 E. Ohio Street, Floor 04                                            Contingent
 Indianapolis, IN, 46204-1912                                          Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Credit Card Debt



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Chaykina, Natalie                                                    Check all that apply.
 7627 Mackell Court                                                    Contingent
 Indianapolis, IN, 46268                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Chemical Systems, Inc.                                               Check all that apply.
                                                                                                                        7,292.27
                                                                                                                      $________________________________
 1033 3rd Ave. SW, Ste. 116                                            Contingent
 Carmel, IN, 46032                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             305,136.01
                                                                                                                      $________________________________
 CIE                                                                   Contingent
 2955 W. Delphi Pike                                                   Unliquidated
 Marion, IN, 46952                                                     Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        42,865.95
                                                                                                                      $________________________________
 Cintas
 7258 Georgetown Rd.                                                   Contingent
 Indianapolis, IN, 46268                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Citizens Energy                                                      Check all that apply.
                                                                                                                       0.01
                                                                                                                      $________________________________
 2020 N. Meridian Street                                               Contingent
 Indianapolis, IN, 46202                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Utility Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       784.26
                                                                                                                      $________________________________
 Clarendon Flavors                                                    Check all that apply.
 2500 Stanley Gault Parkway                                            Contingent
 Louisville, KY, 40223                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Climax Packaging Machinery                                           Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 25 Standen Drive                                                      Contingent
 Hamilton, OH, 45015                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             3,707.30
                                                                                                                      $________________________________
 Columbia Machine, Inc.                                                Contingent
 25 Standen Drive                                                      Unliquidated
 Hamilton, OH, 45015                                                   Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Colyer, Harley
 1169 W County Road 300 N                                              Contingent
 Osgood, IN, 47037                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Comcast                                                              Check all that apply.
                                                                                                                       4,574.06
                                                                                                                      $________________________________
 1701 JFK Blvd.                                                        Contingent
 Philadelphia, PA, 19103                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       139.00
                                                                                                                      $________________________________
 Concentra Medical Centers                                            Check all that apply.
 5080 Spectrum Drive                                                   Contingent
 Addison, TX, 75001                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Covanta                                                              Check all that apply.
                                                                                                                        24,565.52
                                                                                                                      $________________________________
 5080 Spectrum Drive                                                   Contingent
 Addison, TX, 75001                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 Daigger                                                               Contingent
 2732 Kuser Rd.                                                        Unliquidated
 Trenton, NJ, 08691                                                    Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        1,312.44
                                                                                                                      $________________________________
 De Lage Landen Financial Services, Inc.
 1111 Old Eagle School Rd.                                             Contingent
 Wayne, PA, 19087                                                      Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Debow, Jon                                                           Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 4655 Lynnfield Rd., Apt. 927                                          Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       1,000,000.00
                                                                                                                      $________________________________
 Diageo Americas Supply Inc                                           Check all that apply.
 3 World Trade Center                                                  Contingent
                                                                       Unliquidated
 New York, NY, 10007                                                   Disputed
                                                                      Basis for the claim: Litigation Settlement Agreement



        Date or dates debt was incurred         02/23/2024
                                               ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Dilling Group Inc.                                                   Check all that apply.
                                                                                                                        44,291.15
                                                                                                                      $________________________________
 111 East Mildred Street                                               Contingent
 Logansport, IN, 46947                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             41,903.00
                                                                                                                      $________________________________
 Domino Amjet, Inc.                                                    Contingent
 1290 Lakeside Drive                                                   Unliquidated
 Gurnee, IL, 60031                                                     Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 Duncan Co.
 425 Hoover St. NE                                                     Contingent
 Minneapolis, MN, 55413                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 E & H Industrial Services, Inc.                                      Check all that apply.
                                                                                                                       68,941.00
                                                                                                                      $________________________________
 5671 Guion Rd.                                                        Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 EBM.US, LLC                                                          Check all that apply.
 3312 Pine Hill Trail                                                  Contingent
 Palm Beach Gardens, FL, 33418                                         Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Egenolf Industrial Group                                             Check all that apply.
                                                                                                                        136,252.12
                                                                                                                      $________________________________
 350 Wisconsin Street                                                  Contingent
 Indianapolis, IN, 46225                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Eldridge, Jory L                                                      Contingent
 3841 Hornickel Dr.                                                    Unliquidated
 Indianapolis, IN, 46235                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        136,252.12
                                                                                                                      $________________________________
 Ellab Validation Solutions
 303 E. 17th Ave., Ste. 10                                             Contingent
 Denver, CO, 80203                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Elliott, Marcus                                                      Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 4522 San Gabriel Dr.                                                  Contingent
 Indianapolis, IN, 46268                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       7,885.68
                                                                                                                      $________________________________
 eMaint Enterprises LLC                                               Check all that apply.
 307 Fellowship Rd., Ste. 116                                          Contingent
 Mount Laurel, NJ, 08054                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 EMSL Analytical, Inc.                                                Check all that apply.
                                                                                                                        1,610.25
                                                                                                                      $________________________________
 200 Rt. 130 North                                                     Contingent
 Cinnaminson, NJ, 08077                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 Enerquip Thermal Solutions                                            Contingent
 611 North Road                                                        Unliquidated
 Medford, WI, 54451                                                    Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  78
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        14,500.00
                                                                                                                      $________________________________
 Entech Fabrications
 815 Bonnie Lane                                                       Contingent
 Elk Grove Village, IL, 60007                                          Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  79
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Faegre Drinker Biddle & Reath LLP                                    Check all that apply.
                                                                                                                       32,556.50
                                                                                                                      $________________________________
 600 96th Street, Ste. 600                                             Contingent
 Indianapolis, IN, 46240                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  80
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       437.50
                                                                                                                      $________________________________
 FAK Logistics, Inc.                                                  Check all that apply.
 201 W. Main Street                                                    Contingent
 Fort Wayne, IN, 46802                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  81
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Fastenal Company                                                     Check all that apply.
                                                                                                                        3,954.21
                                                                                                                      $________________________________
 6003 Guion Rd., Ste. A                                                Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  82
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             4,055.55
                                                                                                                      $________________________________
 FCX Performance, Inc.                                                 Contingent
 3000 E. 14th Ave.                                                     Unliquidated
 Columbus, OH, 43219                                                   Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  83
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        1,422.49
                                                                                                                      $________________________________
 Ferrum Packaging, Inc.
 880 Bahcall Ct.                                                       Contingent
 Waukesha, WI, 53186                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  84
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Festo Corp.                                                          Check all that apply.
                                                                                                                       11.58
                                                                                                                      $________________________________
 PO Box 1355                                                           Contingent
 Buffalo, NY, 14240                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  85
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 Filtec                                                               Check all that apply.
 3100 Fujita Street                                                    Contingent
 Torrance, CA, 90505                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  86
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Firmenich Incorporated                                               Check all that apply.
                                                                                                                        986.20
                                                                                                                      $________________________________
 PO Box 5880                                                           Contingent
 Princeton, NJ, 08543                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  87
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             101,201.40
                                                                                                                      $________________________________
 First National Capital                                                Contingent
 38 Discovery, Ste. 150                                                Unliquidated
 Irvine, CA, 92618                                                     Disputed
                                                                      Basis for the claim:



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  88
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        1,378.85
                                                                                                                      $________________________________
 Fisher Scientific Company, LLC
 300 Industry Drive                                                    Contingent
 Pittsburgh, PA, 15275                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  89
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Flex-Pac, Inc.                                                       Check all that apply.
                                                                                                                       97,721.04
                                                                                                                      $________________________________
 6075 Lakeside Blvd.                                                   Contingent
 Indianapolis, IN, 46278                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  90
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 Fortis                                                               Check all that apply.
 22790 Heslip Drive                                                    Contingent
 Novi, MI, 48375                                                       Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  91
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Fredericks, Inc. Contractors                                         Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 5448 W. State Road 132                                                Contingent
 Pendleton, IN, 46064                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  92
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Funez, Arlon                                                          Contingent
 3014 Percheron Lane                                                   Unliquidated
 Indianapolis, IN, 46227                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  93
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Garcia Diaz, Blanca Esther
 5058 Oakhurst Drive                                                   Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  94
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 GHW Waste Services                                                   Check all that apply.
                                                                                                                       36,129.91
                                                                                                                      $________________________________
 501 West Raymond Street                                               Contingent
 Indianapolis, IN, 46225                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  95
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Gibson, David                                                        Check all that apply.
 3010 N. Colorado Ave.                                                 Contingent
 Indianapolis, IN, 46218                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  96
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Givaudan Flavor Corporation                                          Check all that apply.
                                                                                                                        26.98
                                                                                                                      $________________________________
 1199 Edison Drive                                                     Contingent
 Cincinnati, OH, 45216                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  97
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 Glacier Tanks, LLC                                                    Contingent
 1301 NE 144th Street, Ste. 125                                        Unliquidated
 Vancouver, WA, 98685                                                  Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  98
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        240.00
                                                                                                                      $________________________________
 GoDaddy
 12655 W. Jefferson Blvd., Ste. 400                                    Contingent
 Los Angeles, CA, 90066                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  99
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Golden West Ventures, LLC                                            Check all that apply.
                                                                                                                       Unknown
                                                                                                                      $________________________________
 10215 Santa Monica Blvd.                                              Contingent
 Century City, CA, 90067                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  100
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Gonzalez, Mayerling Jusneith                                         Check all that apply.
 5556 Scarlet Ter.                                                     Contingent
 Indianapolis, IN, 46224                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  101
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Graphic Packaging International Inc.                                 Check all that apply.
                                                                                                                        8,168.83
                                                                                                                      $________________________________
 1500 Riveredge Parkway NW, Ste. 100                                   Contingent
 Atlanta, GA, 30328                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  102
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             2,849.80
                                                                                                                      $________________________________
 GraphPak                                                              Contingent
 11250 Addison Ave.                                                    Unliquidated
 Franklin Park, IL, 60131                                              Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  103
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Green, Lee
 8705 Ditch Road                                                       Contingent
 Indianapolis, IN, 46260                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  104
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 GS1 US, Inc.                                                         Check all that apply.
                                                                                                                       650.00
                                                                                                                      $________________________________
 7887 Washington Village Drive, Ste. 300                               Contingent
 Dayton, OH, 45459                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  105
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       3,345.68
                                                                                                                      $________________________________
 Hach                                                                 Check all that apply.
 PO Box 389                                                            Contingent
 Loveland, CO, 80539                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  106
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Harrington Industrial Plastics                                       Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 3440 Park Davis Cir.                                                  Contingent
 Indianapolis, IN, 46235                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  107
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             23,110.60
                                                                                                                      $________________________________
 Harris & Ford, LLC                                                    Contingent
 9307 E. 56th Street                                                   Unliquidated
 Indianapolis, IN, 46218                                               Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  108
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        3,003.00
                                                                                                                      $________________________________
 Heavyweight Waste
 17437 Carey Rd., Ste. 164                                             Contingent
 Westfield, IN, 46074                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  109
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Hernandez, Maria                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 3527 N. Taft Avenue                                                   Contingent
 Indianapolis, IN, 46222                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  110
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 Heyes Filters                                                        Check all that apply.
 1741 Torrance Blvd., Ste. A                                           Contingent
 Torrance, CA, 90501                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  111
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 HMH Contractors, Inc.                                                Check all that apply.
                                                                                                                        2,954.64
                                                                                                                      $________________________________
 8432 Brookville Rd.                                                   Contingent
 Indianapolis, IN, 46239                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  112
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 Horner Industrial Group                                               Contingent
 1521 East Washington Street                                           Unliquidated
 Indianapolis, IN, 46201                                               Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  113
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Hutchens, Susan
 19 East Branch                                                        Contingent
 Brownsburg, IN, 46112                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  114
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Hutchison, Tyler                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 6642 Meadowgreen Dr.                                                  Contingent
 Indianapolis, IN, 46236                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  115
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 Hytrol Parts                                                         Check all that apply.
 1450 N. McLean Blvd.                                                  Contingent
 Elgin, IL, 60123                                                      Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  116
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 IFM Efector Inc.                                                     Check all that apply.
                                                                                                                        986.25
                                                                                                                      $________________________________
 1100 Atwater Drive                                                    Contingent
 Malvern, PA, 19355                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  117
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 Impact Networking Indiana, LLC                                        Contingent
 8888 Keystone Crossing, Ste. 350                                      Unliquidated
 Indianapolis, IN, 46240                                               Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  118
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        105,110.15
                                                                                                                      $________________________________
 Indiana Oxygen Company
 6099 West Corporate Way                                               Contingent
 Indianapolis, IN, 46278                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  119
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Indiana Sugars                                                       Check all that apply.
                                                                                                                       Unknown
                                                                                                                      $________________________________
 911 Virginia Street                                                   Contingent
 Gary, IN, 46401                                                       Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  120
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       50.00
                                                                                                                      $________________________________
 Indianapolis Chamber of Commerce                                     Check all that apply.
 111 Monument Circle, Ste. 1950                                        Contingent
 Indianapolis, IN, 46204                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  121
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 International Flavors & Fragrances Inc.                              Check all that apply.
                                                                                                                        7,683.48
                                                                                                                      $________________________________
 7800 Holstein Ave.                                                    Contingent
 Philadelphia, PA, 19153                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  122
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 Jackson Oil & Solvents                                                Contingent
 1970 Kentucky Ave.                                                    Unliquidated
 Indianapolis, IN, 46221                                               Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  123
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Jarquin Alcantara, Anselmo
 4218 Moller Rd.                                                       Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  124
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Johnson Controls, Inc.                                               Check all that apply.
                                                                                                                       4,409.34
                                                                                                                      $________________________________
 5757 N Green Bay Ave.                                                 Contingent
 Milwaukee, WI, 53201                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  125
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       32,557.82
                                                                                                                      $________________________________
 Johnson-Melloh, Inc.                                                 Check all that apply.
 5925 Stockberger Place                                                Contingent
 Indianapolis, IN, 46241                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  126
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 JP Morgan Chase Bank, N.A.                                           Check all that apply.
                                                                                                                        249,161.33
                                                                                                                      $________________________________
 1 E. Ohio St, Floor 04                                                Contingent
                                                                       Unliquidated
 Indianapolis, IN, 46204-1912                                          Disputed
                                                                      Basis for the claim: Credit Card Debt



        Date or dates debt was incurred         05/09/2022
                                               ____________________   Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number        ___________________
                                               1215                   
                                                                      ✔
                                                                        Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  127
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 Kerry Inc. / Kerry Canada Inc.                                        Contingent
 3400 Millington Road                                                  Unliquidated
 Beloit, WI, 53511                                                     Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  128
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 KHS USA, Inc.
 880 Bachall Ct.                                                       Contingent
 Waukesha, WI, 53186                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  129
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Kirby Risk                                                           Check all that apply.
                                                                                                                       27,026.72
                                                                                                                      $________________________________
 27561 Network Place                                                   Contingent
 Chicago, IL, 60673                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  130
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       719.85
                                                                                                                      $________________________________
 Koorsen Fire & Security                                              Check all that apply.
 2719 N. Arlington Ave.                                                Contingent
 Indianapolis, IN, 46218                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  131
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Lappot, Iridania                                                     Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 2325 Longleaf Ln.                                                     Contingent
 Greenfield, IN, 46140                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  132
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             985.37
                                                                                                                      $________________________________
 Lehrman Beverage Law                                                  Contingent
 2911 Hunter Mill Road, Ste. 303                                       Unliquidated
 Oakton, VA, 22124                                                     Disputed
                                                                      Basis for the claim: Services



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  133
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        2,691.25
                                                                                                                      $________________________________
 Level365
 9130 Otis Ave., #H                                                    Contingent
 Indianapolis, IN, 46216                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  134
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Libertas Funding LLC                                                 Check all that apply.
                                                                                                                       812,706.91
                                                                                                                      $________________________________
 411 W. Putnam Ave                                                     Contingent
 Suite 220                                                             Unliquidated
 Greenwich, CT, 06830                                                  Disputed
                                                                      Basis for the claim: Accounts Receivable Factor



        Date or dates debt was incurred        ___________________
                                               07/26/2023             Is the claim subject to offset?
        Last 4 digits of account number        __________________
                                               1313                   
                                                                      ✔
                                                                        No
                                                                       Yes
  135
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Lockard, Kenneth                                                     Check all that apply.
 3903 Deer Ridge, Apr. 1B                                              Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  136
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Lowes                                                                Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 1000 Lowes Blvd.                                                      Contingent
 Mooresville, NC, 28117                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  137
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Luna Martinez, Christian                                              Contingent
 555 S. Cole Street                                                    Unliquidated
 Indianapolis, IN, 46241                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  138
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Madison Chemical Co., Inc.
 3141 Clifty Drive                                                     Contingent
 Madison, IN, 47250                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  139
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Madrigal, Erminia                                                    Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 5255 Shefford Ct.                                                     Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  140
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       9,000.00
                                                                                                                      $________________________________
 MakeMyMove                                                           Check all that apply.
 215 E. 38th Street                                                    Contingent
 Indianapolis, IN, 46205                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  141
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Markem-Imaje Corporation                                             Check all that apply.
                                                                                                                        4,441.50
                                                                                                                      $________________________________
 100 Chastain Center Blvd., Ste. 165                                   Contingent
 Kennesaw, GA, 30144                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  142
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Mateo Geronimo, Alejandro                                             Contingent
 310 East Southern Avenue                                              Unliquidated
 Indianapolis, IN, 46225                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  143
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        664,254.06
                                                                                                                      $________________________________
 Mavpak
 6330 E. 75th Street, Ste. 168                                         Contingent
 Indianapolis, IN, 46250                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  144
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Maxim Services LLC                                                   Check all that apply.
                                                                                                                       27,555.51
                                                                                                                      $________________________________
 7768 Zionsville Rd., Ste. 150                                         Contingent
 Indianapolis, IN, 46268                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  145
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       6,943.52
                                                                                                                      $________________________________
 Mays Chemical Co. Inc.                                               Check all that apply.
 5611 E. 71st Street                                                   Contingent
 Indianapolis, IN, 46220                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  146
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 McAlister's Deli                                                     Check all that apply.
                                                                                                                        191.07
                                                                                                                      $________________________________
 5620 Glenridge Drive NE                                               Contingent
 Atlanta, GA, 30342                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  147
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Melika, Tahany                                                        Contingent
 2178 Littlebury Rd.                                                   Unliquidated
 Westfield, IN, 46074                                                  Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  148
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        41,952.21
                                                                                                                      $________________________________
 Merieux NutriSciences
 401 N. Michigan Ave., Ste. 1400                                       Contingent
 Chicago, IL, 60611                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  149
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Metal Supermarket Indy West                                          Check all that apply.
                                                                                                                       6,102.11
                                                                                                                      $________________________________
 5228 W 79th Street                                                    Contingent
 Indianapolis, IN, 46268                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  150
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Undetermined
                                                                                                                      $________________________________
 Miami Cocktail Company, Inc.                                         Check all that apply.
 2750 NW 3rd Avenue #16                                                Contingent
 Miami, FL, 33127                                                      Unliquidated
                                                                      
                                                                      ✔
                                                                        Disputed

                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  151
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Microbac Laboratories, Inc.                                          Check all that apply.
                                                                                                                        34,219.86
                                                                                                                      $________________________________
 1 Allegheny Square, Ste. 400                                          Contingent
 Pittsburgh, PA, 15212                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  152
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             90.14
                                                                                                                      $________________________________
 Microsoft Office                                                      Contingent
 One Microsoft Way                                                     Unliquidated
 Redmond, WA, 98052                                                    Disputed
                                                                      Basis for the claim: Services



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  153
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        271.09
                                                                                                                      $________________________________
 Midwest Garage Door Systems Inc.
 437 E Stop 18 Rd.                                                     Contingent
 Greenwood, IN, 46143                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  154
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Miller, Benjamin                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 906 East Auman Drive                                                  Contingent
 Carmel, IN, 46032                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  155
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Miller, Benjamin                                                     Check all that apply.
 906 East Auman Drive                                                  Contingent
 Carmel, IN, 46032                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  156
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Miller, Katherine                                                    Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 906 East Auman Drive                                                  Contingent
 Carmel, IN, 46032                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  157
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             2,585.00
                                                                                                                      $________________________________
 MJ Insurance                                                          Contingent
 571 Monon Blvd., Ste. 400                                             Unliquidated
 Carmel, IN, 46032                                                     Disputed
                                                                      Basis for the claim: Insurance



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  158
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        3,305.07
                                                                                                                      $________________________________
 Mobile Mini Solution
 2301 S. Holt Rd.                                                      Contingent
 Indianapolis, IN, 46241                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  159
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Motion Industries, Inc.                                              Check all that apply.
                                                                                                                       Unknown
                                                                                                                      $________________________________
 1605 Alton Rd.                                                        Contingent
 Birmingham, AL, 35210                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  160
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Murrell, Isaac                                                       Check all that apply.
 6109 E. Robert St.                                                    Contingent
 Muncie, IN, 47303                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  161
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Nalco Company LLC                                                    Check all that apply.
                                                                                                                        112,482.84
                                                                                                                      $________________________________
 1601 West Delhi Road                                                  Contingent
 Naperville, IL, 60563                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  162
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             77,148.31
                                                                                                                      $________________________________
 Neace Construction Services Inc.                                      Contingent
 94 Victory Hill                                                       Unliquidated
 Coatesville, IN, 46121                                                Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  163
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 Nelson-Jameson Inc.
 3200 S. Central Ave.                                                  Contingent
 Marshfield, WI, 54449                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  164
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Newjac Industrial Fire Protection                                    Check all that apply.
                                                                                                                       2,766.00
                                                                                                                      $________________________________
 415 South Grant Street                                                Contingent
 Lebanon, IN, 46052                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  165
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       10,082.67
                                                                                                                      $________________________________
 Norflex, Inc.                                                        Check all that apply.
 720 Norflex Drive                                                     Contingent
 Hudson, WI, 54016                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  166
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 nVenia LLC                                                           Check all that apply.
                                                                                                                        1,604.92
                                                                                                                      $________________________________
 750 N. Wood Dale Rd.                                                  Contingent
 Wood Dale, IL, 60191                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  167
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             708.20
                                                                                                                      $________________________________
 OCS Process Systems                                                   Contingent
 24142 Detroit Rd.                                                     Unliquidated
 Westlake, OH, 44145                                                   Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  168
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 Office Depot
 6600 N. Military Trail                                                Contingent
 Boca Raton, FL, 33449                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  169
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Oliphant, Wayne                                                      Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 603 S. Oak St.                                                        Contingent
 Fortville, IN, 46040                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  170
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Ordenana Averruz, Kathy                                              Check all that apply.
 5046 W. 36th Ter.                                                     Contingent
 Indianapolis, IN, 46224                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  171
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Orkin                                                                Check all that apply.
                                                                                                                        20,434.67
                                                                                                                      $________________________________
 2170 Piedmont Rd. NE                                                  Contingent
 Atlanta, GA, 30324                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  172
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Pacheco Antunez, Jayron Javier                                        Contingent
 3014 Percheron Ln.                                                    Unliquidated
 Indianapolis, IN, 46227                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  173
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Padilla, Karola
 4965 Rue Vallee, Apt. 39                                              Contingent
 Indianapolis, IN, 46227                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  174
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Padilla, Maryeli                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 4725 Madison Ave., Apt. 19                                            Contingent
 Indianapolis, IN, 46227                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  175
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Patty, Bryce                                                         Check all that apply.
 12624 Feldspar Rd.                                                    Contingent
 Indianapolis, IN, 46236                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  176
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Pelfrey, Brian                                                       Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 1020 N. Euclid Ave.                                                   Contingent
 Indianapolis, IN, 46201                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  177
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             27,587.98
                                                                                                                      $________________________________
 Penske                                                                Contingent
 2675 Morgantown Rd.                                                   Unliquidated
 Reading, PA, 19607                                                    Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  178
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Perez, Alexis
 1747 Morgan St.                                                       Contingent
 Indianapolis, IN, 46221                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  179
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Pioneer Packaging LLC                                                Check all that apply.
                                                                                                                       60,499.86
                                                                                                                      $________________________________
 218 E. Lincoln Ave.                                                   Contingent
 Portland, IN, 47371                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  180
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Polanco Montoya, Freddy                                              Check all that apply.
 4859 Oakwood Trail                                                    Contingent
 Indianapolis, IN, 46268                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  181
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Ponce Gomez, Leodan Ernesto                                          Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 4514 Brookhollow, Apt. 270                                            Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  182
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             1,349.48
                                                                                                                      $________________________________
 Pratt Industries                                                      Contingent
 3155 State Road 49                                                    Unliquidated
 Valparaiso, IN, 46383                                                 Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  183
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        188.00
                                                                                                                      $________________________________
 Precision Door Service
 14560 Bergen Blvd., Ste. 100                                          Contingent
 Noblesville, IN, 46060                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  184
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Pulido Jarquin, Elvita Ruth                                          Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 3130 Normandy Rd.                                                     Contingent
 Indianapolis, IN, 46222                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  185
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Quay, John                                                           Check all that apply.
 6905 Hague Road                                                       Contingent
 Indianapolis, IN, 46256                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  186
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 R&S Sewer Company                                                    Check all that apply.
                                                                                                                        113.00
                                                                                                                      $________________________________
 PO Box 51706                                                          Contingent
 Indianapolis, IN, 46251                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  187
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Reyes Rodriguez, Amner                                                Contingent
 5564 Scarlet Terrace                                                  Unliquidated
 Indianapolis, IN, 46224                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  188
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Rivas, Elmer
 6121 Ipswich Ct.                                                      Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  189
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Rivera, Tamara                                                       Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 3116 Lincoln Rd., Apt. A                                              Contingent
 Indianapolis, IN, 46222                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  190
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       393.24
                                                                                                                      $________________________________
 RM Auctions                                                          Check all that apply.
 PO Box 1055                                                           Contingent
 Mount Carmel, IL, 62863                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  191
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Robert-James Sales, Inc.                                             Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 2832 Rand Rd.                                                         Contingent
 Indianapolis, IN, 46241                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  192
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             1,481.39
                                                                                                                      $________________________________
 Rodem Process Equipment                                               Contingent
 10001 Martins Way                                                     Unliquidated
 Harrison, OH, 45030                                                   Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  193
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Rodriguez Gonzalez, Daneyling Lisseth
 5566 Scarlet Ter.                                                     Contingent
 Indianapolis, IN, 46224                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  194
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 RS Industrial, Inc.                                                  Check all that apply.
                                                                                                                       6,603.52
                                                                                                                      $________________________________
 1060 Parkway Industrial Park Drive                                    Contingent
 Buford, GA, 30518                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  195
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Rugama, Cruz                                                         Check all that apply.
 6413 Mission Ter., Apt. B                                             Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  196
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Rugama, Jairo                                                        Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 46 S. Tuxedo Street                                                   Contingent
 Indianapolis, IN, 46201                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  197
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             102,125.60
                                                                                                                      $________________________________
 Sadler Mechanical                                                     Contingent
 6120 South Harding Street                                             Unliquidated
 Indianapolis, IN, 46217                                               Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  198
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Sale, Michael
 3204 Wayside Lane                                                     Contingent
 Anderson, IN, 46011                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  199
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Sapphire                                                             Check all that apply.
                                                                                                                       69,252.80
                                                                                                                      $________________________________
 405 Lexington Ave.                                                    Contingent
 New York, NY, 10174                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  200
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       31,704.00
                                                                                                                      $________________________________
 Sazerac Company Inc.                                                 Check all that apply.
 10101 Linn Station Rd.                                                Contingent
 Louisville, KY, 40223                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  201
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Schubert North America, LLC                                          Check all that apply.
                                                                                                                        30,171.51
                                                                                                                      $________________________________
 8848 Red Oak Blvd.                                                    Contingent
 Charlotte, NC, 28217                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  202
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             17,720.00
                                                                                                                      $________________________________
 SensrTrx                                                              Contingent
 7777 Bonhomme Ave., Ste. 1800                                         Unliquidated
 Saint Louis, MO, 63105                                                Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  203
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        5,790.00
                                                                                                                      $________________________________
 ServiceMASTER
 2851 N. Webster Ave.                                                  Contingent
 Indianapolis, IN, 46219                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  204
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Sewer or Septic Services                                             Check all that apply.
                                                                                                                       1,232.78
                                                                                                                      $________________________________
 17220 Harger Ct.                                                      Contingent
 Noblesville, IN, 46060                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  205
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Silguero, Roberto                                                    Check all that apply.
 3046 Wintersong Dr.                                                   Contingent
 Indianapolis, IN, 46241                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  206
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Smith, Jeffrey                                                       Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 1912 King Ave.                                                        Contingent
 Indianapolis, IN, 46222                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  207
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             89.00
                                                                                                                      $________________________________
 Snagajob.com Inc.                                                     Contingent
 32978 Collections Center Dr.                                          Unliquidated
 Chicago, IL, 60693                                                    Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  208
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Sola Canales, Jefry
 4514 Brook Hollow Blvd., Apt. 270                                     Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  209
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Sovereign Flavors                                                    Check all that apply.
                                                                                                                       6,347.17
                                                                                                                      $________________________________
 4030 W. Chandler Ave.                                                 Contingent
 Santa Ana, CA, 92704                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  210
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Soza Hernandez, Elvin Daniel                                         Check all that apply.
 3130 Normandy Rd., Apt. 34                                            Contingent
 Indianapolis, IN, 46222                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  211
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Soza, Carlos                                                         Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 4665 Edwardian Circle, Apt. 1A                                        Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  212
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Soza, Josue                                                           Contingent
 3116 Lincoln Rd., Apt. A                                              Unliquidated
 Indianapolis, IN, 46222                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  213
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Spurlock, Kierceton
 9186 Cinnebar Dr.                                                     Contingent
 Indianapolis, IN, 46268                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  214
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Squid Ink Manufacturing Inc.                                         Check all that apply.
                                                                                                                       1,293.99
                                                                                                                      $________________________________
 7041 Boone Ave. N.                                                    Contingent
 Minneapolis, MN, 55428                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  215
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       33,250.81
                                                                                                                      $________________________________
 Stanley Convergent Security Solutions, Inc.                          Check all that apply.
 8350 Sunlight Drive                                                   Contingent
 Fishers, IN, 46037                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  216
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Statco-DSI                                                           Check all that apply.
                                                                                                                        3,891.00
                                                                                                                      $________________________________
 4678 World Parkway Circle                                             Contingent
 Saint Louis, MO, 63134                                                Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  217
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             0.00
                                                                                                                      $________________________________
 Sterling, Joseph                                                      Contingent
 1325 N. Colorado Ave.                                                 Unliquidated
 Indianapolis, IN, 46201                                               Disputed
                                                                      Basis for the claim: Employee wages



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  218
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 Stewart's Enterprises, Inc.
 1 Margaret Place                                                      Contingent
 Monmoth Beach, NJ, 21044                                              Unliquidated
                                                                      
                                                                      ✔
                                                                        Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  219
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Stonebriar Commercial Finance LLC                                    Check all that apply.
                                                                                                                       Unknown
                                                                                                                      $________________________________
 5601 Granite Parkway, Suite 1350                                      Contingent
 Plano, TX, 75024                                                      Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Lease



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________      No
                                                                      
                                                                      ✔
                                                                        Yes
  220
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       27,453.08
                                                                                                                      $________________________________
 Storage Solutions, Inc.                                              Check all that apply.
 910 E. 169th Street                                                   Contingent
 Westfield, IN, 46074                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  221
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 System Scale Corporation                                             Check all that apply.
                                                                                                                        433.70
                                                                                                                      $________________________________
 4393 West 96th Street                                                 Contingent
 Indianapolis, IN, 46268                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  222
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             Unknown
                                                                                                                      $________________________________
 Taft Stettinius & Hollister LLP                                       Contingent
 One Indiana Square, Suite 3500                                        Unliquidated
 Indianapolis, IN, 46204                                               Disputed
                                                                      Basis for the claim: Services



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  223
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Taylor, Marco
 1942 Moray Court East, Apt. M                                         Contingent
 Indianapolis, IN, 46260                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  224
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Techniblend                                                          Check all that apply.
                                                                                                                       7,871.76
                                                                                                                      $________________________________
 21800 Doral Rd.                                                       Contingent
 Waukesha, WI, 53186                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  225
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       17,937.98
                                                                                                                      $________________________________
 Teledyne Taptone                                                     Check all that apply.
 49 Edgerton Drive                                                     Contingent
 North Falmouth, MA, 02556                                             Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  226
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Tex, Laura                                                           Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 322 S. Parker Ave.                                                    Contingent
 Indianapolis, IN, 46201                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  227
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             601.00
                                                                                                                      $________________________________
 TForce Freight                                                        Contingent
 28013 Network Place                                                   Unliquidated
 Chicago, IL, 60673                                                    Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  228
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        44,105.00
                                                                                                                      $________________________________
 The Millcraft Paper Company
 6800 Grant Ave.                                                       Contingent
 Cleveland, OH, 44105                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  229
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 TMCI PADOVAN                                                         Check all that apply.
                                                                                                                       15,134.50
                                                                                                                      $________________________________
 Via Padovan 1                                                         Contingent
 31010 Mareno di Piave TV                                              Unliquidated
 Italy                                                                 Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  230
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       6,888.19
                                                                                                                      $________________________________
 Tri-State Compressed Air Systems, Inc.                               Check all that apply.
 1608 Eisenhower Drive S.                                              Contingent
 Goshen, IN, 46526                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  231
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Tynan Equipment Company                                              Check all that apply.
                                                                                                                        3,041.09
                                                                                                                      $________________________________
 5926 Stockberger Pl.                                                  Contingent
 Indianapolis, IN, 46241                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  232
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             7,437.63
                                                                                                                      $________________________________
 ULINE                                                                 Contingent
 PO Box 88741                                                          Unliquidated
 Chicago, IL, 60680                                                    Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  233
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        4,167.82
                                                                                                                      $________________________________
 UPS
 55 Glenlake Pkwy. NE                                                  Contingent
 Atlanta, GA, 30328                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  234
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Valencia Diaz, Pedro Abdon                                           Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 136 Neal Ave.                                                         Contingent
 Indianapolis, IN, 46222                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  235
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
 Veloz Lluveres, Pedro                                                Check all that apply.
 13826 N. Tiosa Ln.                                                    Contingent
 Camby, IN, 46113                                                      Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  236
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Verst Group Logistics, Inc.                                          Check all that apply.
                                                                                                                        995.00
                                                                                                                      $________________________________
 300 Shoreland Drive                                                   Contingent
 Walton, KY, 41094                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  237
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             105,602.55
                                                                                                                      $________________________________
 Vision One Partners, LLC                                              Contingent
 1 Gracie Square                                                       Unliquidated
 New York, NY, 10028                                                   Disputed
                                                                      Basis for the claim: Consulting



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  238
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        869.03
                                                                                                                      $________________________________
 Vital Records Control
 3940 Technology Dr.                                                   Contingent
 Maumee, OH, 43537                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  239
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 W.M. Sprinkman LLC                                                   Check all that apply.
                                                                                                                       7,285.00
                                                                                                                      $________________________________
 404 Pilot Court                                                       Contingent
 Waukesha, WI, 53188                                                   Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  240
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 W.W. Grainger, Inc.                                                  Check all that apply.
 9610 Corporation Drive                                                Contingent
 Indianapolis, IN, 46256                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  241
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Washington, Benny                                                    Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 1945 Bradford Trace Way                                               Contingent
 Indianapolis, IN, 46229                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  242
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             53,783.55
                                                                                                                      $________________________________
 Waste Management                                                      Contingent
 PO Box 3020                                                           Unliquidated
 Monroe, WI, 53566                                                     Disputed
                                                                      Basis for the claim: Services



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  243
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Weber, Caleb
 1450 Rockingham Pl., Apt. B                                           Contingent
 Indianapolis, IN, 46260                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  244
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Wehrman, William                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                      $________________________________
 2474 E County Road 600 N                                              Contingent
 Pittsboro, IN, 46167                                                  Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  245
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       4,233.84
                                                                                                                      $________________________________
 Wesco                                                                Check all that apply.
 225 W. Station Square Drive                                           Contingent
 Pittsburgh, PA, 15219                                                 Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  246
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Westrock - Automated PKG System                                      Check all that apply.
                                                                                                                        12,174.80
                                                                                                                      $________________________________
 1000 Abernathy Road NE                                                Contingent
 Atlanta, GA, 30328                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  247
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             424,453.95
                                                                                                                      $________________________________
 WestRock - Multi Packaging Solutions Inc.                             Contingent
 75 Remittance Dr., Ste. 3111                                          Unliquidated
 Chicago, IL, 60675                                                    Disputed
                                                                      Basis for the claim: Services



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  248
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 White, Renato
 4163 Mission Dr., Apt. D                                              Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
  249
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Wiese USA                                                            Check all that apply.
                                                                                                                       468.01
                                                                                                                      $________________________________
 4549 W. Bradbury Ave.                                                 Contingent
 Indianapolis, IN, 46241                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                        No
                                                                       Yes
  250
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       17,990.77
                                                                                                                      $________________________________
 William Blair & Company LLC                                          Check all that apply.
 150 N. Riverside Plaza                                                Contingent
 Chicago, IL, 60606                                                    Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Services



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes
  251
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Zavala, Eduardo                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 4514 Brookhollow Blvd., Apt. 270                                      Contingent
 Indianapolis, IN, 46254                                               Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                        No
        Last 4 digits of account number        ___________________     Yes



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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  252
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             3,909.10
                                                                                                                      $________________________________
 Zeco, LLC                                                             Contingent
 412 Georgia Ave., Ste. 300                                            Unliquidated
 Chattanooga, TN, 37403                                                Disputed
                                                                      Basis for the claim: Suppliers or Vendors



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number        ___________________
  253
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        0.00
                                                                                                                      $________________________________
 Zelaya, Iviss
 517 Steinbeck Pl.                                                     Contingent
 Carmel, IN, 46032                                                     Unliquidated
                                                                       Disputed
                                                                      Basis for the claim: Employee wages



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                        No
                                                                       Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________      No
                                                                       Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number        ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number        ___________________     Yes



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Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Alex Layton
4.1.      Dinsmore & Shohl LLP                                                                      3.89
                                                                                               Line _____
          One Indiana Square, Suite 1800                                                                                                        ________________
          Indianapolis, IN, 46204                                                                   Not listed. Explain:


          Christopher McElwee
4.2.
          Monday McElwee Albright                                                              Line 3.107
                                                                                                    _____
          1915 Broad Ripple Avenue                                                                Not listed. Explain                          ________________
          Indianapolis, IN, 46220

          David Herzog                                                                              3.218
4.3.                                                                                           Line _____
          c/o Hoover Hull Turner LLP
          111 Monument Circle, Suite 4400                                                         Not listed. Explain                          ________________
          Indianapolis, IN, 46204
          Deborah Caruso
4.4.      c/o Rubin & Levin, P.C.                                                                   3.33
                                                                                               Line _____
          135 N. Pennsylvania St, Suite 1400                                                                                                    ________________
          Indianapolis, IN, 46204
                                                                                                  Not listed. Explain

          Deborah Caruso
41.       c/o Rubin & Levin, P.C.                                                                   3.19
                                                                                               Line _____
          135 N. Pennsylvania St, Suite 1400                                                                                                    ________________
          Indianapolis, IN, 46204
                                                                                                  Not listed. Explain

          Deborah Caruso
4.5.      c/o Rubin & Levin, P.C.
                                                                                                    3.228
                                                                                               Line _____
          135 N. Pennsylvania St, Suite 1400                                                      Not listed. Explain                          ________________
          Indianapolis, IN, 46204

          Joel Nesset
4.6.      c/o Cozen O'Connor
                                                                                                    3.33
                                                                                               Line _____
          33 S. 6th Street Suite 3800                                                             Not listed. Explain                          ________________
          Minneapolis, MN, 55402

          Mark Mester                                                                               3.150
4.7.                                                                                           Line _____
          c/o Latham & Watkins LLP
          330 North Wabash Ave., Ste. 2800                                                        Not listed. Explain                          ________________
          Chicago, IL, 60611

          Meredith R. Theisen                                                                       3.33
4.8.                                                                                           Line _____
          c/o Rubin & Levin, P.C.
          135 N. Pennsylvania Street Ste 1400                                                     Not listed. Explain                          ________________
          Indianapolis, IN, 46204

          Meredith R. Theisen                                                                       3.19
4.9.                                                                                           Line _____
          c/o Rubin & Levin, P.C.
          135 N. Pennsylvania Street Ste 1400                                                     Not listed. Explain                          ________________
          Indianapolis, IN, 46204

          Meredith R. Theisen
4.10.                                                                                          Line 3.228
                                                                                                    _____
          c/o Rubin & Levin, P.C.
          135 N. Pennsylvania Street Ste 1400                                                     Not listed. Explain                          ________________
          Indianapolis, IN, 46204

4.11.     Michael Rabinowitch
          c/o Dinsmore & Shohl LLP                                                                  3.89
                                                                                               Line _____
          One Indiana Square, Suite 1800                                                                                                        ________________
          Indianapolis, IN, 46204
                                                                                                  Not listed. Explain




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                              55
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            Case  24-00786-JMC-7A
               Blue Marble Productions, Inc.    Doc 37       Filed 04/17/24          EOD 04/17/24 15:48:35
                                                                                                   24-00786 Pg 70 of 74
 Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 3 :     Addit iona l Pa ge for Othe rs to Be Not ifie d About Unse c ure d Cla im s


       Name and mailing address                                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                                   related creditor (if any) listed?               account number,
                                                                                                                                   if any
  13
4.__ Molly Elizabeth Harkins                                                           3.218
                                                                                  Line _____
     c/o Hoover Hull Turner LLP
     111 Monument Circle, Suite 4400                                                  Not listed. Explain                         ________________
     Indianapolis, IN, 46204

  14   Sean White
4.__                                                                                   3.1
                                                                                  Line _____
       c/o Clapp Ferrucci
       8766 South Street, Suite 210                                                   Not listed. Explain                         ________________
       Fishers, IN, 46038
  15
4.__ Steven Lammers                                                                    3.66
                                                                                  Line _____
     c/o Mandel Rauch & Lammers, PC
     704 Adams Street, Suite F                                                        Not listed. Explain                         ________________
     Carmel, IN, 46032

4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain                         ________________



4.__                                                                              Line _____

                                                                                      Not listed. Explain ________________        ________________




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page __     55
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            Case
               Blue24-00786-JMC-7A
                    Marble Productions, Inc.     Doc 37       Filed 04/17/24          EOD 04/17/24 15:48:35
                                                                                                    24-00786 Pg 71 of 74
 Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 4 :      T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                    Total of claim amounts



5a. Total claims from Part 1                                                                           5a.
                                                                                                                      70,301.05
                                                                                                                    $_____________________________




5b. Total claims from Part 2                                                                           5b.    +       25,078,325.86
                                                                                                                    $_____________________________




5c. Total of Parts 1 and 2                                                                                            25,148,626.91
                                                                                                       5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                  55 of ___
                                                                                                                                                         55
         Case 24-00786-JMC-7A                      Doc 37        Filed 04/17/24            EOD 04/17/24 15:48:35                   Pg 72 of 74

 Fill in this information to identify the case:

             Blue Marble Productions, Inc.
 Debtor name __________________________________________________________________

                                         Southern District of Indiana
 United States Bankruptcy Court for the:______________________

                           24-00786                                         7
 Case number (If known):   _________________________                Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Sub-Sublease Agreement                           MBV-Midwest LLC
         State what the contract or    Lessor                                           3309 Collins Lane
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        Louisville, KY, 40245
         State the term remaining
         List the contract number of
         any government contract

                                       Equipment Sub-Sublease                           MBV-Midwest LLC
         State what the contract or    Agreement                                        3309 Collins Lane
 2.2     lease is for and the nature
         of the debtor’s interest      Lessor
                                                                                        Louisville, KY, 40245
         State the term remaining
         List the contract number of
         any government contract

                                       Lease Agreement                                  BCORE Georgetown Owner LLC
         State what the contract or    Lessee                                           90 Park Avenue, 32nd Floor
 2.3     lease is for and the nature
         of the debtor’s interest                                                       New York, NY, 10016

         State the term remaining
         List the contract number of
         any government contract

                                       Sublease Agreement                               MBV-Midwest LLC
         State what the contract or
 2.4                                   Lessee                                           3309 Collins Lane
         lease is for and the nature
         of the debtor’s interest
                                                                                        Louisville, KY, 40245
         State the term remaining
         List the contract number of
         any government contract

                                       Equipment Sublease Agreement                      MBV-Midwest LLC
         State what the contract or    Lessee
 2.5     lease is for and the nature
                                                                                         3309 Collins Lane
         of the debtor’s interest
                                                                                         Louisville, KY, 40245
         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       2
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          Case 24-00786-JMC-7A                   Doc 37        Filed 04/17/24           EOD 04/17/24 15:48:35                 Pg 73 of 74

               Blue Marble Productions, Inc.                                                                       24-00786
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Residual Property Lease and                    MBV-Midwest LLC
            State what the contract or    Storage Agreement                              3309 Collins Lane
   6
 2.____     lease is for and the nature   Lessor
            of the debtor’s interest
                                                                                         Louisville, KY, 40245
            State the term remaining
            List the contract number of
            any government contract

                                          Supply / Co-Packing Agreements                 Various
            State what the contract or    (5) subject to confidentiality / NDA
   7
 2.____     lease is for and the nature
            of the debtor’s interest      provisions

            State the term remaining
            List the contract number of
            any government contract

                                          Equipment Lease (Printer)                      Impact Networking Indiana, LLC
            State what the contract or    Lessee                                         8888 Keystone Crossing, Ste. 350
   8
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Indianapolis, IN, 46240

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Bulk Liquid Gas Service Agreement              Indiana Oxygen Company
   9
 2.____     lease is for and the nature   Purchaser                                      6099 West Corporate Way
            of the debtor’s interest                                                     Indianapolis, IN, 46278
            State the term remaining
            List the contract number of
            any government contract

                                          Short Term Rental Agreement                    Wiese USA
            State what the contract or    (Forklifts)                                    4549 W. Bradbury Ave.
   10
 2.____     lease is for and the nature   Lessee                                         Indianapolis, IN, 46241
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
                                                                                                                                             2 of ___
                                                                                                                                                  2
         Case 24-00786-JMC-7A                       Doc 37         Filed 04/17/24            EOD 04/17/24 15:48:35                    Pg 74 of 74
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Blue Marble Productions, Inc.

                                         Southern District of Indiana
 United States Bankruptcy Court for the:_______________________________

                            24-00786
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1 Blue Marble                     112 North Curry Street                                              Libertas Funding LLC                ✔ D
                                                                                                                                             
       Cocktails, Inc.               Carson City, NV 89703                                                                                    E/F
                                                                                                                                              G




 2.2                                 3570 South Spring Mountain                                                                              ✔ D
                                                                                                                                             
                                     Pahrump, NV 89048                                                                                        E/F
       AMD Group LLC                                                                                     Libertas Funding LLC                 G




 2.3                                 3266 S. Spring Mountain Blvd.
                                                                                                                                             ✔ D
                                                                                                                                             
                                     Pahrump, NV 89048
                                                                                                                                              E/F
       Alan Miller                                                                                        Libertas Funding LLC                G



 2.4                                 415 N. Benton Ave.
                                                                                                                                             ✔ D
                                                                                                                                             
                                     Helena, MT 59601                                                                                         E/F
       Alan Miller, LLC                                                                                  Libertas Funding LLC                 G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
